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APPENDIX D
SETTLING DEFENDANTS
for the

AQUA-TECH ENVIRONMENTAL INC. (GROCE LABS) SUPERFUND SITE
Greer, Spartanburg County, South Carolina
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AQUA-TECH
SETTLING DEFENDANTS

Exxon Mobil Corporation (f/k/a Exxon Corporation, including Exxon Enterprises,
Inc.)

Abbott Laboratories

A.B. Carter, Inc.

Alcoa Inc. (d/b/a Southeastern-Kusan, Inc.)

American Nickeloid Company

BP Amoco Chemicals Company (f/k/a Amoco Chemicals Company)
Arco Metals Company, Inc. (n/k/a Atlantic Richfield Company)
Atlantic Richfield Company

AVX Corporation (successor to AVX Ceramics)

BAE Systems Integrated Defense Solutions, Inc. (successor to Tracor Aerospace,
Inc.)

Barber Colman Company, Inc.
BASF Corporation (successor to Badische Corporation)

Bridgestone/Firestone North American Tire, LLC (successor to Firestone Steel
Products)

Carolina Plating Company
Cartex Corporation

Connell Limited Partnership (including the Mayville Metal Products Division).
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Cooper Industries, LLC (successor to McGraw-Edison Company)

CNA Holdings, Inc. (f/k/a/ Hoechst Celanese Corporation and successor to
American Hoechst Corporation and Fiber Industries, Inc.)

C.R. Bard, Inc.

Dana Corporation (on behalf of Lipe Corporation a/k/a Lipe Clutch Products)
Del Monte Corporation

Dunlop Sports Group Americas Inc.

Eaton Aeroquip Inc. (successor to Aeroquip Corporation)

Electro-Plating, Inc.

Federal Cartridge Company (successor to Federal Hoffman, Inc.)

Fisher Scientific International Inc. (on behalf of itself and as successor to Apogent
Technologies, Inc. and Sybron Corporation)

FMC Corporation

Gannett Pacific Corporation (d/b/a The Greenville News, f/k/a The Greenville
News-Piedmont)

General Electric Company (successor to Radio Corporation of America)
General Motors Corporation

The Gillette Company (successor to Duracell Inc.)

Greenwood Mills, Inc.

Honeywell International Inc. (successor to Midland-Ross Corporation and
Norplex)
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HSL, Inc. (successor to Holliwngsworth Saco Lowell, Inc., Platt Saco Lowell
Corporation and PSL Corporation of Greenville)

Ingersoll Rand Company (successor to Torrington Bearings Company)
Invensys Building Systems, Inc.

Jacobs Chuck Manufacturing Company (successor to Jacobs Manufacturing
Company)

JPS Industries, Inc. (successor to J.P. Stevens & Co., Inc. and WestPoint Stevens,
Inc.)

Kemet Electronics Corporation

Kohler Co.

The Knight Publishing Company, Inc.

Lipe Clutch Products Company

Lipe Rollway Company, Inc.

Lonza, Inc.

Master Lock Company, Inc.

Metro Machine Corp.

Milacron Inc. (successor to Cincinnati Milacron Inc.)
Milliken & Company

Millennium Holdings, LLC (including SCM Pigments)

Nassau Metals Corporation
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National Tank Service of Wisconsin, Inc.
NI Industries, Inc.

Northop Grumman Space & Mission Systems Corp. (successor to Lucas
Industries, Inc. and TRW, Inc.)

Philips Electronics North America Corporation (successor to
Philips Components, Inc.)

PSC Custom, LP (successor to Penske Truck Services, Inc.)

Progress Lighting, Inc.

Quaker Chemical Corporation

RMAX, Inc.

Robert Bosch Corporation

Rockwell Automation, Inc. (successor to Allen Bradley Company, Inc.)
Rockford Products Corporation

Schaeffler Group USA, Inc. (successor to Andrews Bearing, Co. and INA-USA,
Inc.)

Spartanburg Steel Products, Inc.

Square D Company, Inc.

Sta-Rite Industries LLC (successor to Fluid Controls, Inc.)
Sequa Corporation (f/k/a Sun Chemical Corporation)

Textron, Inc. (successor to The Homelite Corporation)
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TransTechnology Corporation (successor to Space Ordnance Systems)

Tifco Inc.

Tipper Tie, Inc.

TriMas Corporation (successor in interest to NI Industries, Inc.)

Tyco Electronics Corporation (successor to Communication Instruments, Inc.)
Union Carbide Corporation

Vishay Intertechnology, Inc. (successor to Measurements Group, Inc.)

VyTech Industries, Inc. (successor to Stauffer Chemical Company's Anderson,
South Carolina facility)

Volvo Trucks North America, Inc. (successor to Volvo White Truck Corporation)
Waste Conversion Company, Inc.
Watlow Missouri, Inc. (f/k/a Watlow Industries, Inc.)

York Tape and Label, Inc.
